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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA



    IN RE CATTLE AND BEEF ANTITRUST                                No. 0:20-cv-1319 (JRT/HB)
    LITIGATION

    This document relates to:                                      DEFENDANTS’ ANSWER AND
                                                                   AFFIRMATIVE DEFENSES TO DIRECT
    In re DPP Beef Litigation                                      PURCHASER PLAINTIFFS’ THIRD
                                                                   CONSOLIDATED AMENDED CLASS
                                                                   ACTION COMPLAINT

           Defendants Tyson Foods, Inc. and Tyson Fresh Meats, Inc. (unless otherwise stated,

collectively “Tyson Defendants”) answer Plaintiffs’ Complaint1 as follows, in paragraphs

numbered to correspond to the paragraph numbers in said Complaint:

                                            GENERAL ANSWER

           The Tyson Defendants deny all allegations in the Complaint unless the Tyson Defendants

have expressly admitted those allegations herein. Where an allegation in the Complaint is

directed at another Defendant or a party that is not affiliated with the Tyson Defendants, then

except as otherwise expressly stated, the Tyson Defendants deny the allegations set forth in the

Complaint on the basis that they deny the knowledge or information sufficient to form a belief

concerning the truth of such allegations. Further, unless otherwise expressly admitted, the Tyson

Defendants deny any allegations in the headings, footnotes, graphs/charts or in other places in

the Complaint, to the extent that any such allegations require a response. Any headings,

subheadings or similar text that the Tyson Defendants have included in this Answer are for the

convenience of the Court and the parties, and are not intended to be nor shall they be construed

as an admission of any fact by the Tyson Defendants.



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         Furthermore, the Tyson Defendants object to Plaintiffs’ failure to differentiate between

Defendant Tyson Foods, Inc. and Defendant Tyson Fresh Meats, Inc. and to allege specifically

what either entity did to participate in the alleged conspiracy. Tyson Foods, the parent entity, is a

separate corporation from Tyson Fresh Meats and Plaintiffs fail to offer information in sufficient

detail to identify which entity took the alleged actions attributed to the Tyson Defendants

throughout the Complaint.

                   ANSWERS TO PLAINTIFFS’ SPECIFIC ALLEGATIONS

                                I.     NATURE OF THIS ACTION

                  Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties to this action, the Tyson Defendants lack knowledge or information sufficient to

form a belief as to the truth of the allegations and, therefore, deny these allegations. This

paragraph also contains Plaintiffs’ characterization of their claims and/or legal conclusions to

which no response is required. To the extent a response is required, the Tyson Defendants deny

such characterizations and/or conclusions. The Tyson Defendants otherwise deny the allegations

in this paragraph, and deny that Plaintiffs are entitled to any relief.

                  Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

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                  Answer: The Tyson Defendants specifically deny the conspiracy and collusive

restriction of beef supply alleged in the Complaint. This paragraph otherwise contains Plaintiffs’

characterizations of their claims, including unfounded speculation and conclusory statements,

and allegations subject to proof by expert testimony, to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

                  Answer: Tyson Foods, Inc. admits it received a Civil Investigative Demand from

the U.S. Department of Justice, Antitrust Division in 2020. To the extent the allegations in this

paragraph relate to the other Defendants and/or third parties to this action, the Tyson Defendants

lack knowledge or information sufficient to form a belief as to the truth of the allegations and,

therefore, deny these allegations. To the extent this paragraph characterizes or describes

documents or other sources, the Tyson Defendants note that such sources speak for themselves

and deny any characterization or description that is inconsistent therewith. The Tyson

Defendants otherwise deny the allegations in this paragraph.

                  Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith.

                  Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. To the extent the allegations in this paragraph rely on conversations between third

parties, the Tyson Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations and, therefore, deny these allegations. This paragraph otherwise contains

Plaintiffs’ characterization of their claims and/or legal conclusions to which no response is




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required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the collusive control of beef

pricing and the conspiracy alleged in the Complaint. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the collaboration to restrain and

manage production of beef alleged in the Complaint. This paragraph contains Plaintiffs’

characterization of their claims and/or legal conclusions to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

conclusions. The Tyson Defendants otherwise deny the allegations in this paragraph.

                  Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the




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Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

                  Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the collusion alleged in the

Complaint. This paragraph contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the conspiracy and throttling of

the beef supply alleged in the Complaint. As to the data included in Figure 1, the Tyson

Defendants lack sufficient information and knowledge to admit or deny their accuracy. This

paragraph otherwise contains Plaintiffs’ characterization of their claims, including unfounded

speculation and conclusory statements, and allegations subject to proof by expert testimony, to

which no response is required. To the extent a response is required, the Tyson Defendants deny

such characterizations and/or allegations. The Tyson Defendants otherwise deny the allegations

in this paragraph.

                  Answer: The Tyson Defendants specifically deny the agreement to coordinate

slaughter reductions and volume alleged in the Complaint. As to the data included in Figure 2,



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the Tyson Defendants lack sufficient information and knowledge to admit or deny their accuracy.

This paragraph otherwise contains Plaintiffs’ characterization of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

                  Answer: As to the data included in Figure 3, the Tyson Defendants lack sufficient

information and knowledge to admit or deny their accuracy. To the extent the allegations in this

paragraph relate to the other Defendants and/or third parties to this action, the Tyson Defendants

lack knowledge or information sufficient to form a belief as to the truth of the allegations and,

therefore, deny these allegations. This paragraph otherwise contains Plaintiffs’ characterization

of their claims, including unfounded speculation and conclusory statements, and allegations

subject to proof by expert testimony, to which no response is required. To the extent a response

is required, the Tyson Defendants deny such characterizations and/or conclusions. The Tyson

Defendants otherwise deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. As to the data included in Figures 1, 2, and 3, the Tyson Defendants lack sufficient

information and knowledge to admit or deny their accuracy. To the extent the allegations in this

paragraph relate to the other Defendants and/or third parties to this action, the Tyson Defendants

lack knowledge or information sufficient to form a belief as to the truth of the allegations and,

therefore, deny these allegations. This paragraph also contains Plaintiffs’ characterization of their

claims and/or legal conclusions to which no response is required. To the extent a response is




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required, the Tyson Defendants deny such characterizations and/or conclusions. The Tyson

Defendants otherwise deny the allegations in this paragraph.

                  Answer: This paragraph contains Plaintiffs’ characterization of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

                  Answer: This paragraph contains Plaintiffs’ characterization of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

                  Answer: As to the data included in Figures 4 and 5, the Tyson Defendants lack

sufficient information and knowledge to admit or deny their accuracy. This paragraph otherwise

contains Plaintiffs’ characterization of their claims, including unfounded speculation and

conclusory statements, and allegations subject to proof by expert testimony, to which no

response is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or conclusions. The Tyson Defendants otherwise deny the allegations in

this paragraph.

                  Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.



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                  Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. This paragraph otherwise contains Plaintiffs’ characterization of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the collusion and concerted

slashing of supply output alleged in the Complaint. This paragraph otherwise contains Plaintiffs’

characterization of their claims, including unfounded speculation and conclusory statements, and

allegations subject to proof by expert testimony, to which no response is required. To the extent a

response is required, the Tyson Defendants deny such characterizations and/or allegations. The

Tyson Defendants otherwise deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. This paragraph also contains Plaintiffs’ characterization of their claims and/or legal

conclusions to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or conclusions. The Tyson Defendants otherwise

deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. This paragraph otherwise contains Plaintiffs’ characterization of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. Regarding the cites to and

quotes from Tyson Foods, Inc.’s earnings calls or filings made to the Securities and Exchanges



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Commission, the Tyson Defendants note that those sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph. The Tyson Defendants otherwise deny the allegations in

this paragraph.

                  Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. This paragraph otherwise contains

Plaintiffs’ characterization of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

                  Answer: The Tyson Defendants specifically deny the collusion alleged in the

Complaint. This paragraph otherwise contains Plaintiffs’ characterization of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

                              II.     JURISDICTION AND VENUE

                  Answer: The Tyson Defendants admit that Plaintiffs purport to seek damages

pursuant to Sections 4(a) and 16 of the Clayton Act. To the extent a response is required, the

Tyson Defendants deny the allegations in this paragraph. The Tyson Defendants otherwise deny

the allegations in this paragraph.

                  Answer: The Tyson Defendants admit that Plaintiffs seek to invoke the

jurisdiction of this Court pursuant to 28 U.S.C. §§ 1331 and 1337, and Sections 4 and 16 of the

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Clayton Act. To the extent a response is required, the Tyson Defendants deny the allegations in

this paragraph. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants admit that Plaintiffs seek to establish venue in

the United States District Court for the District of Minnesota pursuant to Sections 4, 12, and 16

of the Clayton Act and 28 U.S.C. § 1391(b), (c), and (d). The Tyson Defendants further admit

that Tyson Fresh Meats, Inc. has purchased fed cattle owned or located in this District and admit

that Tyson Fresh Meats, Inc. has sold products to customers located in this District. To the extent

the allegations in this paragraph relate to the other Defendants and/or third parties to this action,

the Tyson Defendants lack knowledge or information sufficient to form a belief as to the truth of

the allegations and, therefore, deny these allegations. The Tyson Defendants otherwise deny the

allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. The Tyson Defendants admit that they have transacted business in this District. To

the extent the allegations in this paragraph relate to the other Defendants and/or third parties to

this action, the Tyson Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations and, therefore, deny these allegations. This paragraph also contains

Plaintiffs’ characterization of their claims and/or legal conclusions regarding the interest

Minnesota has in the matter to which no response is required. To the extent a response is

required, the Tyson Defendants deny such characterizations and/or conclusions. The Tyson

Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. The Tyson Defendants otherwise deny the allegations in this paragraph.




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                                         III.    PARTIES

         A.    Plaintiffs

               Answer: The Tyson Defendants specifically deny the antitrust violations alleged

in the Complaint. The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants specifically deny the antitrust violations alleged

in the Complaint. The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants specifically deny the antitrust violations alleged

in the Complaint. The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

         B.    Defendants
               1.      The Cargill Defendants
               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any


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of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               2.      The JBS Defendants
               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

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               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either



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Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               3.      The Tyson Defendants
               Answer: The Tyson Defendants admit that Tyson Foods, Inc. is a publicly traded

Delaware corporation headquartered in Springdale, Arkansas and that Tyson Fresh Meats, Inc.

sold beef products in interstate commerce. The Tyson Defendants otherwise deny the allegations

of this paragraph.

               Answer: The Tyson Defendants admit the allegations in this paragraph.

               Answer: The Tyson Defendants admit that Tyson Fresh Meats, Inc. owns and

operates fed cattle slaughter plants and contracts for the purchase of cattle slaughter at those

plants. The Tyson defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny that Tyson Foods, Inc. sold beef products

during the Class Period. The Tyson Defendants otherwise admit the allegations in this paragraph.

               Answer: To the extent the allegations in this paragraph rely on sources attributed

to Tyson Foods, Inc., the Tyson Defendants note that such sources speak for themselves and

deny any characterization or description that is inconsistent therewith.

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. The Tyson Defendants otherwise deny the allegations in this paragraph.




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               4.      National Beef Packing Company
               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: To the extent this paragraph contains Plaintiffs’ definition of

“Defendants,” no response is required. This paragraph otherwise contains Plaintiffs’

characterization of their claims and/or legal conclusions to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

conclusions.

               Answer: The Tyson Defendants specifically deny the coordinated and collusive

behavior and conspiracy alleged in the Complaint. The Tyson Defendants admit that Tyson Fresh

Meats, Inc. sold beef products to purchasers during the Class Period. This paragraph otherwise

contains Plaintiffs’ characterization of their claims and/or legal conclusions to which no response

is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or conclusions.




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         C.    Defendants’ co-conspirators

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties to this action, the Tyson Defendants lack knowledge or information sufficient to

form a belief as to the truth of the allegations and, therefore, deny these allegations. This

paragraph also contains Plaintiffs’ characterization of their claims and/or legal conclusions to

which no response is required. To the extent a response is required, the Tyson Defendants deny

such characterizations and/or conclusions. The Tyson Defendants otherwise deny the allegations

in this paragraph.

         D.    Reciprocal agency of Defendants and co-conspirators

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph also contains Plaintiffs’ characterization of their claims and/or legal

conclusions to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or conclusions. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph also contains Plaintiffs’ characterization of their claims and/or legal

conclusions to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or conclusions. The Tyson Defendants otherwise

deny the allegations in this paragraph.

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         E.    Defendant parent and subsidiary companies share a unity of interest

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: The Tyson Defendants specifically deny the illegal enterprise and

conspiracy alleged in the Complaint. To the extent the allegations in this paragraph relate to the

other Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph also contains Plaintiffs’ characterization of their claims and/or legal

conclusions to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or conclusions. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties to this action, the Tyson Defendants lack knowledge or information sufficient to

form a belief as to the truth of the allegations and, therefore, deny these allegations. This

paragraph also contains Plaintiffs’ characterization of their claims and/or legal conclusions to

which no response is required. To the extent a response is required, the Tyson Defendants deny

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such characterizations and/or conclusions. The Tyson Defendants otherwise deny the allegations

in this paragraph.

               1.      The Cargill Defendants
               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.




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               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either



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Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               2.      The JBS Defendants
               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.




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               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               3.      The Tyson Defendants
               Answer: The Tyson Defendants admit that Tyson Fresh Meats, Inc. is a

subsidiary of Tyson Foods, Inc. The Tyson Defendants further admit that Tyson Fresh Meats,

Inc. is the only Tyson Defendant that purchased fed cattle and sold beef products during the

alleged class periods. This paragraph also contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.




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               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. Regarding the cites to and

quotes from Tyson Foods, Inc.’s website or earnings calls, the Tyson Defendants note that those

sources speak for themselves and deny any characterization or description that is inconsistent

therewith. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. To the extent this paragraph characterizes or describes documents or other sources,

the Tyson Defendants note that such sources speak for themselves and deny any characterization

or description that is inconsistent therewith. The Tyson Defendants otherwise deny the

allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.



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               Answer: Regarding the SEC registration statement cited in this paragraph, the

Tyson Defendants note that the source speaks for itself and deny any characterization or

description that is inconsistent therewith. This paragraph otherwise contains Plaintiffs’

characterization of their claims and/or legal conclusions to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

conclusions. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: Regarding the Form 424B5 filed with the SEC, the Tyson Foods, Inc.

Prospectus cited in this paragraph, the Tyson Defendants note that the source speaks for itself

and deny any characterization or description that is inconsistent therewith. The Tyson

Defendants otherwise deny the allegations in this paragraph.

               Answer: Regarding the USDA website referenced in this paragraph, the Tyson

Defendants note that the source speaks for itself and deny any characterization or description that

is inconsistent therewith.

               Answer: The Tyson Defendants specifically deny the price fixing and conspiracy

alleged in the Complaint. This paragraph also contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.


                             IV.     INDUSTRY BACKGROUND

               Answer: As to the data cited in this paragraph, the Tyson Defendants lack

sufficient information and knowledge to admit or deny their accuracy. This paragraph otherwise

contains Plaintiffs’ characterization of their claims, including unfounded speculation and

conclusory statements, and allegations subject to proof by expert testimony, to which no


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response is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or allegations.

               Answer: The Tyson Defendants admit that the descriptions of terms related to the

fed cattle market in this paragraph are generally correct, but state that exact definitions and

descriptions may vary and that some exceptions exist.

               Answer: The Tyson Defendants admit that the descriptions of the fed cattle

market in this paragraph are generally correct, but state that exact definitions and descriptions

may vary and that some exceptions exist. To the extent this paragraph characterizes or describes

documents or other sources, the Tyson Defendants note that such sources speak for themselves

and deny any characterization or description that is inconsistent therewith.

               Answer: The Tyson Defendants admit that the descriptions of the fed cattle

market in this paragraph are generally correct, but state that exact definitions and descriptions

may vary and that some exceptions exist. To the extent this paragraph characterizes or describes

USDA documents or other sources, the Tyson Defendants note that such sources speak for

themselves and deny any characterization or description that is inconsistent therewith.

               Answer: The Tyson Defendants admit that the descriptions of the fed cattle

market in this paragraph are generally correct, but state that exact definitions and descriptions

may vary and that some exceptions exist. This paragraph otherwise contains Plaintiff’s

characterization of their claims and/or legal conclusions to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

conclusions.

               Answer: The Tyson Defendants admit that the descriptions of the fed cattle

market in this paragraph are generally correct, but state that exact definitions and descriptions



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may vary and that some exceptions exist. This paragraph otherwise contains Plaintiffs’

characterization of their claims and/or legal conclusions to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

conclusions.

               Answer: The Tyson Defendants admit that Tyson Fresh Meats, Inc. sells beef

products to purchasers in the wholesale market, which then sell those beef products to other

customers. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties to this action, the Tyson Defendants lack knowledge or information sufficient to

form a belief as to the truth of the allegations and, therefore, deny these allegations. The Tyson

Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants admit that Tyson Fresh Meats, Inc. holds a daily

meeting often attended by representatives of the cattle procurement, plant operations, scheduling,

beef sales and risk management teams, among others, to make decisions regarding its cattle and

beef operations. The topics discussed during those daily meetings vary. To the extent the

allegations in this paragraph relate to the other Defendants and/or third parties to this action, the

Tyson Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations and, therefore, deny these allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent the allegations

relate to the other Defendants and/or third parties to this action, the Tyson Defendants lack

knowledge or information sufficient to form a belief as to the truth of the allegations and,



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therefore, deny these allegations. To the extent the quoted material relies on data or other

sources, the Tyson Defendants lack information to confirm that data and sources and therefore

deny these allegations.


              V.       OPERATING DEFENDANTS’ ANTITRUST VIOLATIONS

                   Answer: To the extent this paragraph characterizes or describes documents,

earnings calls or other sources, the Tyson Defendants note that such sources speak for

themselves and deny any characterization or description that is inconsistent therewith. To the

extent the allegations in this paragraph relate to the other Defendants and/or third parties to this

action, the Tyson Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations and, therefore, deny these allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

                   Answer: To the extent this paragraph characterizes or describes documents,

earnings calls or other sources, the Tyson Defendants note that such sources speak for

themselves and deny any characterization or description that is inconsistent therewith.

                   Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

                   Answer: The Tyson Defendants specifically deny the collective reduction and

management of slaughter volumes alleged in the Complaint. This paragraph otherwise contains

Plaintiffs’ characterization of their claims and/or legal conclusions to which no response is




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required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

         A.    Direct evidence of Defendants’ conspiracy

               Answer: The Tyson Defendants specifically deny the agreement to periodically

reduce purchase and slaughter volumes alleged in the Complaint. To the extent the allegations in

this paragraph rely on conversations between third parties, the Tyson Defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations and, therefore, deny

these allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants specifically deny the collusive purchase and

slaughter reduction agreement alleged in the Complaint, and deny that Mr. Hooker was in a

position to know about the unlawful agreement alleged in the Complaint. To the extent the

allegations in this paragraph rely on conversations between third parties, the Tyson Defendants

lack knowledge or information sufficient to form a belief as to the truth of the allegations in this

paragraph and, therefore, deny these allegations. The Tyson Defendants otherwise deny the

allegations in this paragraph.

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               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               1.      Mr. Hooker Was Well Positioned to Know About Operating
                       Defendants’ Agreement
               Answer: The Tyson Defendants admit that James Hooker was a former

production supervisor at Tyson Fresh Meats, Inc.’s Amarillo, Texas, slaughter plant. The Tyson

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: This paragraph and the corresponding photo contain Plaintiffs’

characterization of their claims and/or legal conclusions to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or




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conclusions. The Tyson Defendants otherwise lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

The Tyson Defendants also note that Plaintiffs have identified a different individual as Mr.

Hooker in this paragraph and in footnote 9.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               2.      Witness 1 Learns of an Agreement Among Defendants

               Answer: The Tyson Defendants specifically deny the agreement alleged in the

Complaint. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties or their statements to others, the Tyson Defendants lack knowledge or information

sufficient to form a belief as to the truth of these allegations and, therefore, deny these

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants specifically deny the agreement alleged in the

Complaint. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties or their statements to others, the Tyson Defendants lack knowledge or information

sufficient to form a belief as to the truth of these allegations and, therefore, deny these

allegations.



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               Answer: The Tyson Defendants specifically deny the agreement alleged in the

Complaint. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties or their statements to others, the Tyson Defendants lack knowledge or information

sufficient to form a belief as to the truth of these allegations and, therefore, deny these

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the agreement alleged in the

Complaint. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties or their statements to others, the Tyson Defendants lack knowledge or information

sufficient to form a belief as to the truth of these allegations and, therefore, deny these

allegations.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The Tyson Defendants specifically deny the coordination and agreement

regarding slaughter and processing capacity alleged in the Complaint. This paragraph otherwise

contains Plaintiffs’ characterizations of their claims, including unfounded speculation and

conclusory statements, and allegations subject to proof by expert testimony, to which no

response is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or allegations. The Tyson Defendants otherwise deny the allegations in this

paragraph.

         B.    The Available Data Corroborates Witness 1’s Account

               Answer: The Tyson Defendants admit that Tyson Fresh Meats, Inc. made

decisions about its own beef processing volumes based on various supply and demand

conditions, including the supply and price of fed cattle. To the extent the allegations in this

paragraph relate to the other Defendants and/or third parties to this action, the Tyson Defendants

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lack knowledge or information sufficient to form a belief as to the truth of the allegations and,

therefore, deny these allegations. This paragraph otherwise contains Plaintiffs’ characterizations

of their claims, including unfounded speculation and conclusory statements, and allegations

subject to proof by expert testimony, to which no response is required. To the extent a response

is required, the Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants specifically deny the allegations of joint

slaughter management and agreement alleged in the Complaint. To the extent this paragraph

characterizes or describes documents or other sources, the Tyson Defendants note that such

sources speak for themselves and deny any characterization or description that is inconsistent

therewith. As to the data cited in this paragraph, the Tyson Defendants lack sufficient

information and knowledge to admit or deny their accuracy and therefore deny these allegations.

This paragraph otherwise contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants specifically deny any allegation of agreed-upon

rationing of fed cattle supply alleged in this paragraph. To the extent that Figure 1 relies on

underlying data and Plaintiffs’ own assumptions and estimates, the Tyson Defendants lack

knowledge or information to confirm and therefore deny these allegations.



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               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that Figure 1

relies on underlying data and Plaintiffs’ own assumptions and estimates, the Tyson Defendants

lack knowledge or information to confirm and therefore deny these allegations.

               Answer: The Tyson Defendants specifically deny the agreement alleged in the

Complaint. This paragraph contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that Figure 1

relies on underlying data and Plaintiffs’ own assumptions and estimates, the Tyson Defendants

lack knowledge or information to confirm and therefore deny these allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that the

allegations rely on underlying data and Plaintiffs’ own assumptions and estimates, the Tyson

Defendants lack knowledge or information to confirm and therefore deny these allegations. To



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the extent the allegations in this paragraph relate to the other Defendants and/or third parties to

this action, the Tyson Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations and, therefore, deny these allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that Figures 1

and 7 rely on underlying data and Plaintiffs’ own assumptions and estimates, the Tyson

Defendants lack knowledge or information to confirm and therefore deny these allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that the

allegations in the paragraph rely on underlying data and Plaintiffs’ own assumptions and

estimates, the Tyson Defendants lack knowledge or information to confirm and therefore deny

these allegations.

               Answer: As to the data included in Figure 2, the Tyson Defendants lack sufficient

information and knowledge to admit or deny their accuracy. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory



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statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent Figure 3 relies

on underlying data, the Tyson Defendants note that such sources speak for themselves and deny

any characterization or description that is inconsistent therewith.

               Answer: The Tyson Defendants specifically deny the allegations of a collective

agreement and managing collective demand in the Complaint. The Tyson Defendants admit that

Tyson Fresh Meats, Inc. increased slaughter levels during the alleged Class Period. This

paragraph otherwise contains Plaintiffs’ characterizations of their claims, including unfounded

speculation and conclusory statements, and allegations subject to proof by expert testimony, to

which no response is required. To the extent a response is required, the Tyson Defendants deny

such characterizations and/or allegations. To the extent the allegations rely on underlying data,

the Tyson Defendants note that such sources speak for themselves and deny any characterization

or description that is inconsistent therewith.

         C.    Operating Defendants slash production in 2015

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. This paragraph contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson



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Defendants deny such characterizations and/or allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: As to the data cited in this paragraph, the Tyson Defendants lack

sufficient information and knowledge to admit or deny their accuracy. To the extent the

allegations in this paragraph relate to the other Defendants and/or third parties to this action, the

Tyson Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations and, therefore, deny these allegations. This paragraph otherwise contains Plaintiffs’

characterizations of their claims, including unfounded speculation and conclusory statements,

and allegations subject to proof by expert testimony, to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph. The Tyson

Defendants otherwise deny the allegations in this paragraph.

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. To the extent that the allegations in this paragraph rely on underlying data and

Plaintiffs’ own assumptions and estimates, the Tyson Defendants lack knowledge or information

to confirm and therefore deny these allegations. The Tyson Defendants otherwise deny the

allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources attributed to Tyson Foods, Inc., the Tyson Defendants note that such sources speak

for themselves and deny any characterization or description that is inconsistent therewith. To the

extent the allegations in this paragraph relate to the other Defendants and/or third parties to this



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action, the Tyson Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations and, therefore, deny these allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent the allegations in

this paragraph relate to the other Defendants and/or third parties to this action, the Tyson

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations and, therefore, deny these allegations. To the extent that the allegations in this

paragraph rely on underlying data and Plaintiffs’ own assumptions and estimates, the Tyson

Defendants lack knowledge or information to confirm and therefore deny these allegations. The

Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources attributed to Tyson Foods, Inc., the Tyson Defendants note that such sources speak

for themselves and deny any characterization or description that is inconsistent therewith. To the

extent the allegations in this paragraph relate to the other Defendants and/or third parties to this

action, the Tyson Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations and, therefore, deny these allegations.

               Answer: The Tyson Defendants specifically deny the allegations of collective

slaughter reductions in this paragraph. As to the cites or quotes from industry publications or

articles, the Tyson Defendants lack sufficient information and knowledge to admit or deny the

accuracy of any data or sources used to support the statements and opinions therein, and




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therefore deny these allegations. The Tyson Defendants otherwise deny the allegations in this

paragraph.

               Answer: This paragraph consists of cites and quotes from an industry publication

and article, about which the Tyson Defendants lack sufficient information and knowledge to

admit or deny the accuracy of any data or sources used to support the statements and opinions

therein. The Tyson Defendants therefore deny these allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. As to the cites or quotes from

industry publications or articles, the Tyson Defendants lack sufficient information and

knowledge to admit or deny the accuracy of any data or sources used to support the statements

and opinions therein, and therefore deny these allegations.

               Answer: The Tyson Defendants admit that Donnie Smith was Tyson Foods,

Inc.’s CEO in August 2015. To the extent this paragraph characterizes or describes documents or

other sources attributed to Tyson Foods, Inc., the Tyson Defendants note that such sources speak

for themselves and deny any characterization or description that is inconsistent therewith. The

Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the concerted actions to depress

cattle prices alleged in this paragraph. Regarding the USDA data cited in this paragraph, the

Tyson Defendants note that the data speak for themselves and deny any characterization or

description that is inconsistent therewith. To the extent that the allegations in this paragraph rely




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on underlying data and Plaintiffs’ own assumptions and estimates, the Tyson Defendants lack

knowledge or information to confirm and therefore deny these allegations.

         D.    Operating Defendants continued to artificially limit supply into 2016

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. As to the cites or quotes from

industry publications or articles, the Tyson Defendants lack sufficient information and

knowledge to admit or deny the accuracy of any data or sources used to support the statements

and opinions therein, and therefore deny these allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that Plaintiffs’

estimates of quarterly slaughter volumes rely on underlying data and Plaintiffs’ own assumptions

and estimates, the Tyson Defendants lack knowledge or information to confirm and therefore

deny these allegations. To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations.

               Answer: The Tyson Defendants specifically deny the allegations of rationing

cattle in this paragraph. This paragraph otherwise contains Plaintiffs’ characterizations of their

claims, including unfounded speculation and conclusory statements, and allegations subject to

proof by expert testimony, to which no response is required. To the extent a response is required,

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the Tyson Defendants deny such characterizations and/or allegations. To the extent that

Plaintiffs’ margin estimates rely on underlying data and Plaintiffs’ own assumptions and

estimates, the Tyson Defendants lack knowledge or information to confirm and therefore deny

these allegations. As to the cites or quotes from industry publications or articles, the Tyson

Defendants lack sufficient information and knowledge to admit or deny the accuracy of any data

or sources used to support the statements and opinions therein, and therefore deny these

allegations.

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that Plaintiffs’

estimates of quarterly slaughter volumes rely on underlying data and Plaintiffs’ own assumptions

and estimates, the Tyson Defendants lack knowledge or information to confirm and therefore

deny these allegations. To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or



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information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations.

               Answer: The Tyson Defendants specifically deny the allegations of collective

adherence to rationing the available cattle supply in this paragraph. This paragraph otherwise

contains Plaintiffs’ characterizations of their claims, including unfounded speculation and

conclusory statements, and allegations subject to proof by expert testimony, to which no

response is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or allegations. To the extent that Plaintiffs’ analysis of margin estimates

relies on underlying data and Plaintiffs’ own assumptions and estimates, the Tyson Defendants

lack knowledge or information to confirm and therefore deny these allegations.

         E.    After historic cuts, Operating Defendants continued to keep supply restrained,
               resulting in higher been prices and unprecedented margins in 2017 and 2018

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that Plaintiffs’

estimated slaughter volumes rely on underlying data and Plaintiffs’ own assumptions and

estimates, the Tyson Defendants lack knowledge or information to confirm and therefore deny

these allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent this paragraph




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includes cash cattle prices, the Tyson Defendants note that the cited sources speak for themselves

and deny any characterization or description that is inconsistent therewith.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that Plaintiffs’

margin estimates rely on underlying data and Plaintiffs’ own assumptions and estimates, the

Tyson Defendants lack knowledge or information to confirm and therefore deny these

allegations.

               Answer: The Tyson Defendants specifically deny the scheme alleged in the

Complaint. This paragraph contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations. To the extent that Figure 1 relies on

underlying data and Plaintiffs’ own assumptions and estimates, the Tyson Defendants lack

knowledge or information to confirm and therefore deny these allegations. As to the cites or

quotes from industry publications or articles, the Tyson Defendants lack sufficient information

and knowledge to admit or deny the accuracy of any data or sources used to support the

statements and opinions therein, and therefore deny these allegations.

               Answer: The Tyson Defendants specifically deny the allegations of a

commitment to rationing cattle alleged in this paragraph. To the extent that Plaintiffs’ estimates

of Defendants’ estimated slaughter volumes rely on underlying data and Plaintiffs’ own

assumptions and estimates, the Tyson Defendants lack knowledge or information to confirm and



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therefore deny these allegations. To the extent that Figure 7 relies on underlying data and

Plaintiffs’ own assumptions and estimates, the Tyson Defendants lack knowledge or information

to confirm and therefore deny these allegations.

         F.    Operating Defendants’ 2019 and 2020 Bring Continued Parallel Slaughter,
               Reaction Against Independent Self-Interest

               Answer: As to the cites or quotes from industry publications or articles, the

Tyson Defendants lack sufficient information and knowledge to admit or deny the accuracy of

any data or sources used to support the statements and opinions therein, and therefore deny these

allegations. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the allegations of working

together to constrain cattle prices alleged in the Complaint. As to the cites or quotes from

industry publications or articles, the Tyson Defendants lack sufficient information and

knowledge to admit or deny the accuracy of any data or sources used to support the statements

and opinions therein, and therefore deny these allegations. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the allegations of an adherence

to a common pricing strategy alleged in the Complaint. This paragraph otherwise contains


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Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. Regarding the cite from an industry publication footnote 35, the Tyson

Defendants lack sufficient information and knowledge to admit or deny the accuracy of any data

or sources used to support the statements and opinions therein, and therefore deny the

accompanying allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. Regarding the cites or quotes

from industry publications or articles, the Tyson Defendants lack sufficient information and

knowledge to admit or deny the accuracy of any data or sources used to support the statements

and opinions therein, and therefore deny the accompanying allegations.

               Answer: This paragraph includes cites or quotes from industry publications or

articles about which the Tyson Defendants lack sufficient information and knowledge to admit or

deny the accuracy of any data or sources used to support the statements and opinions therein, and

therefore deny the accompanying allegations.

               Answer: The Tyson Defendants admit that an accidental fire occurred at Tyson

Fresh Meats, Inc.’s processing plant in Holcomb, Kansas on August 9, 2019; and (b)

immediately thereafter, they announced that the plant would be rebuilt and would resume

operations as quickly as possible. This paragraph otherwise contains Plaintiffs’ characterizations

of their claims, including unfounded speculation and conclusory statements, and allegations



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subject to proof by expert testimony, to which no response is required. To the extent a response

is required, the Tyson Defendants deny such characterizations and/or allegations. Regarding the

cites or quotes from industry publications or articles in footnote 37, the Tyson Defendants lack

sufficient information and knowledge to admit or deny the accuracy of any data or sources used

to support the statements and opinions therein, and therefore deny the accompanying allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent that the

estimated per head margins in this paragraph rely on underlying data and Plaintiffs’ own

assumptions and estimates, the Tyson Defendants lack knowledge or information to confirm and

therefore deny these allegations. Regarding the cites or quotes from industry publications or

articles in footnote 38, the Tyson Defendants lack sufficient information and knowledge to admit

or deny the accuracy of any data or sources used to support the statements and opinions therein,

and therefore deny the accompanying allegations.

               Answer: The Tyson Defendants admit that media reports following the fire

reported that the Holcomb plant’s daily capacity was approximately 6,000 head of cattle. This

paragraph otherwise contains Plaintiff’s characterizations of their claims, including unfounded

speculation and conclusory statements, and allegations subject to proof by expert testimony, to

which no response is required. To the extent a response is required, the Tyson Defendants deny

such characterizations and/or allegations.

               Answer: The Tyson Defendants specifically deny the parallel and coordinated

decrease in production alleged in the Complaint. As to the data included in Figures 9–13, the



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Tyson Defendants lack sufficient information and knowledge to admit or deny their accuracy.

This paragraph otherwise contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

         G.    Defendants idled and closed plants, refrained from expanding processing
               capacity

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. The Tyson Defendants admit that: (a) Tyson Fresh Meats Inc.’s plant in Cherokee,

Iowa was closed in September 2014; (b) the plant was sold to an independent processor after

deciding to cancel a lease on the property that did not expire until the year 2050; and (c) the sale

was subject to a 10-year covenant placing certain limits on the number of fed cattle that could be

harvested or processed at the facility. To the extent this paragraph or the corresponding footnotes

characterize or describe documents or other sources, the Tyson Defendants note that such

sources speak for themselves and deny any characterization or description that is inconsistent


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therewith. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties to this action, the Tyson Defendants lack knowledge or information sufficient to

form a belief as to the truth of the allegations and, therefore, deny these allegations. The Tyson

Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants admit that Tyson Fresh Meat Inc.’s plant in

Denison, Iowa was closed in August 2015. To the extent the allegations in this paragraph relate

to the other Defendants and/or third parties to this action, the Tyson Defendants lack knowledge

or information sufficient to form a belief as to the truth of the allegations and, therefore, deny

these allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the



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Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants admit that Tyson Fresh Meats, Inc.’s Dakota

City plant capacity was upgraded in 2015. This paragraph otherwise contains Plaintiffs’

characterizations of their claims, including unfounded speculation and conclusory statements,

and allegations subject to proof by expert testimony, to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

         H.    Operating Defendants signaled their conspiracy and encouraged each other to
               maintain it

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. The Tyson Defendants admit that Donnie Smith was employed by Tyson Foods, Inc.

in 2015. To the extent the allegations in this paragraph characterizes or describes documents or

other sources attributed to Tyson Foods, Inc., the Tyson Defendants note that such sources speak

for themselves and deny any characterization or description that is inconsistent therewith. To the

extent the allegations in this paragraph relate to the other Defendants and/or third parties to this


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action, the Tyson Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations and, therefore, deny these allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

         I.    Parallel Reductions in Cash Cattle Purchases and Anticompetitive Queuing
               Conventions

               Answer: The Tyson Defendants admit that Tyson Fresh Meats, Inc. acquires

some of its fed cattle through the cash cattle market and some of its fed cattle through alternative

marketing agreements such as formula and forward contracts, and that under those contracts a

producer agrees to deliver fed cattle to Tyson Fresh Meats, Inc. at a future date. The Tyson

Defendants admit that the descriptions of terms related to the fed cattle market in this paragraph

are generally correct, but state that exact definitions and descriptions may vary and that some

exceptions exist. Unless expressly admitted, the allegations in this paragraph are denied.

               Answer: The Tyson Defendants specifically deny the allegations of joint

management of cash cattle purchases alleged in the Complaint. This paragraph contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by




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expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph purports to describe the alleged queuing convention and

how it worked in practice, to which no response is required. To the extent a response is required,

the Tyson Defendants deny the Complaint’s allegations that Tyson Foods agreed with other

Defendants to impose the queuing convention upon producers.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants admit that Tyson Fresh Meats, Inc. employed

Brian Alsup as a Cattle Buyer during the time period Witness 2 was allegedly working at Carrizo

Feeders (2012 to 2015). To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants admit that Tyson Fresh Meats, Inc. employed

Brian Alsup as a Cattle Buyer during the time period Witness 2 was allegedly working at Carrizo

Feeders (2012 to 2015). To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.




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                Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations and, therefore, deny these allegations.

                Answer: The Tyson Defendants specifically deny the collective action and

anticompetitive conduct alleged in the Complaint. This paragraph otherwise contains Plaintiffs’

characterizations of their claims, including unfounded speculation and conclusory statements,

and allegations subject to proof by expert testimony, to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.


              VI.   EFFECTS OF DEFENDANTS’ ANTITRUST VIOLATIONS

         A.     Defendants’ conspiracy increased the spread between cattle and beef prices.

                Answer: The Tyson Defendants admit that droughts from 2011 through 2013

affected the supply of fed cattle. This paragraph otherwise contains Plaintiffs’ characterizations

of their claims, including unfounded speculation and conclusory statements, and allegations

subject to proof by expert testimony, to which no response is required. To the extent a response

is required, the Tyson Defendants deny such characterizations and/or allegations. The Tyson

Defendants otherwise deny the allegations in this paragraph.

                Answer: To the extent this paragraph or the corresponding footnote characterize

or describe documents or other sources, the Tyson Defendants note that such sources speak for

themselves and deny any characterization or description that is inconsistent therewith. The Tyson

Defendants otherwise deny the allegations in this paragraph.

                Answer: The Tyson Defendants specifically deny the conspiracy and restriction

of the beef supply alleged in the Complaint. This paragraph otherwise contains Plaintiffs’

characterizations of their claims, including unfounded speculation and conclusory statements,


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and allegations subject to proof by expert testimony, to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the conspiracy and collusion

alleged in the Complaint. This paragraph otherwise contains Plaintiffs’ characterizations of their

claims, including unfounded speculation and conclusory statements, and allegations subject to

proof by expert testimony, to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.



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         B.    Tyson Foods and, jointly, JBS S.A. and JBS USA falsely claimed their record
               profits were due to market prescience, not supply constraints

               Answer: To the extent the allegations in this paragraph characterize or describe

documents or other sources attributed to Tyson Foods, Inc., the Tyson Defendants note that such

sources speak for themselves and deny any characterization or description that is inconsistent

therewith. To the extent the allegations in this paragraph relate to the other Defendants and/or

third parties to this action, the Tyson Defendants lack knowledge or information sufficient to

form a belief as to the truth of the allegations and, therefore, deny these allegations. The Tyson

Defendants otherwise deny the allegations in this paragraph.


      VII.    ADDITIONAL PLUS FACTORS ENCOURAGING THE REASONABLE
                    INFERENCE OF DEFENDANT’ CONSPIRACY

               Answer: The Tyson Defendants specifically deny the allegations of collusion in

the Complaint. This paragraph contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations.

         A.    The beef market is highly concentrated

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by




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expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants admit that Tyson Foods, Inc. acquired IBP, Inc.

in 2001. To the extent the allegations in this paragraph relate to the other Defendants and/or third

parties to this action, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations and, therefore, deny these allegations. This paragraph

otherwise contains Plaintiffs’ characterizations of their claims, including unfounded speculation

and conclusory statements, and allegations subject to proof by expert testimony, to which no

response is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or allegations.

               Answer: The Tyson Defendants specifically deny the allegations of conspiracy in

the Complaint. To the extent the allegations in this paragraph relate to the other Defendants

and/or third parties to this action, the Tyson Defendants lack knowledge or information sufficient

to form a belief as to the truth of the allegations and, therefore, deny these allegations. This

paragraph otherwise contains Plaintiffs’ characterizations of their claims, including unfounded

speculation and conclusory statements, and allegations subject to proof by expert testimony, to

which no response is required. To the extent a response is required, the Tyson Defendants deny

such characterizations and/or allegations.




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         B.    The beef market has high barriers to entry

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. To the extent the allegations in

this paragraph relate to the other Defendants and/or third parties to this action, the Tyson

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations and, therefore, deny these allegations.

         C.    Beef is a commodity product

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by



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expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants admit that the USDA posts daily beef prices, and

that cattle options and futures are traded on the Chicago Mercantile Exchange. The Tyson

Defendants deny that all the beef produced by Tyson Fresh Meats, Inc. is a commodity product.

This paragraph otherwise contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

         D.    The demand for beef is inelastic

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.



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               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory



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statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

         E.    Defendants took advantage of multiple opportunities to collude

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants admit: (a) some of their executives have

participated in National Cattlemen’s Beef Association events and the NCBA’s Product Council

in the past; and (b) Kevin Hueser was either an officer or board member or formally designated

participant of the NCBA during at least part of the alleged Class Period. To the extent the

allegations in this paragraph relate to the other Defendants and/or third parties to this action, the

Tyson Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations and, therefore, deny these allegations. The Tyson Defendants otherwise deny the

allegations in this paragraph.

               Answer: The Tyson Defendants admit: (a) Tyson Foods, Inc. was a member of

the USMEF during at least part of the alleged Class Period; (b) Roel Andriessen and Robert

Shuey were participants and held positions with the USMEF during at least part of the alleged

Class Period; and (c) Roel Andriessen attended the USMEF Strategic Planning Conference in

Tucson, Arizona, in November 2017. To the extent the allegations in this paragraph relate to the

other Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

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               Answer: The Tyson Defendants admit that Tyson Foods, Inc. is currently a

member of the Global and U.S. Roundtables for Sustainable Beef, and that some of their

executives have participated in Global and U.S. Roundtables for Sustainable Beef annual

meetings in the past. To the extent the allegations in this paragraph relate to the other Defendants

and/or third parties to this action, the Tyson Defendants lack knowledge or information sufficient

to form a belief as to the truth of the allegations and, therefore, deny these allegations. The Tyson

Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants admit: (a) their executives have participated in

North American Meat Institute events; and (b) Noel White and Thomas Hayes served on the

NAMI executive committee during the alleged Class Period. To the extent the allegations in this

paragraph relate to the other Defendants and/or third parties to this action, the Tyson Defendants

lack knowledge or information sufficient to form a belief as to the truth of the allegations and,

therefore, deny these allegations. The Tyson Defendants otherwise deny the allegations in this

paragraph.

               Answer: The Tyson Defendants admit: (a) their executives have attended the

annual Meat Conference; and (b) Don Kieffer attended the Conference in 2017 and 2018. To the

extent the allegations in this paragraph rely on the sources cited in footnotes 53–57, the Tyson

Defendants note that such sources speak for themselves and deny any characterization or

description that is inconsistent therewith. To the extent the allegations in this paragraph relate to

the other Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. The Tyson Defendants deny the allegations in this paragraph.




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               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. To the extent the allegations in this

paragraph relate to the other Defendants and/or third parties to this action, the Tyson Defendants

lack knowledge or information sufficient to form a belief as to the truth of the allegations and,

therefore, deny these allegations. The Tyson Defendants otherwise deny the allegations in this

paragraph.

               Answer: The Tyson Defendants admit: (a) some of their executives have attended

the annual Meat Conference; and (b) Donnie Smith is listed as a registered attendee in 2012. To

the extent this paragraph characterizes or describes documents or other sources, the Tyson

Defendants note that such sources speak for themselves and deny any characterization or

description that is inconsistent therewith. To the extent the allegations in this paragraph relate to

the other Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants admit that Kevin Hueser, Randall Chambers,

John Gerber attended AgCon in 2018. To the extent the allegations in this paragraph relate to the

other Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. The Tyson Defendants admit that Tyson Foods, Inc. sold its Brazilian and Mexican

chicken operations to JBS S.A. in 2014 and 2015 and that executives of Tyson Foods, Inc. were



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involved in discussions about those transactions. To the extent this paragraph characterizes or

describes documents or other sources, the Tyson Defendants not that such sources speak for

themselves and deny any characterization or description that is inconsistent therewith. To the

extent the allegations in this paragraph relate to the other Defendants and/or third parties to this

action, the Tyson Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations and, therefore, deny these allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the conspiracy alleged in the

Complaint. This paragraph contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations.

         F.    Defendants exacerbated their supply restraints by continuing to reduce their
               imports

               Answer: As to the data included in Figure 15, the Tyson Defendants lack

sufficient information and knowledge to admit or deny their accuracy. This paragraph otherwise

contains Plaintiffs’ characterizations of their claims, including unfounded speculation and

conclusory statements, and allegations subject to proof by expert testimony, to which no

response is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or allegations. The Tyson Defendants otherwise deny the allegations in this

paragraph.

               Answer: The Tyson Defendants specifically deny the allegations of conspiracy in

the Complaint. To the extent the allegations in this paragraph relate to the other Defendants

and/or third parties to this action, the Tyson Defendants lack knowledge or information sufficient


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to form a belief as to the truth of the allegations and, therefore, deny these allegations. This

paragraph otherwise contains Plaintiffs’ characterizations of their claims, including unfounded

speculation and conclusory statements, and allegations subject to proof by expert testimony, to

which no response is required. To the extent a response is required, the Tyson Defendants deny

such characterizations and/or allegations. The Tyson Defendants otherwise deny the allegations

in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

         G.    Defendants’ Market Share Stability is Indicative of a Conspiracy

               Answer: The Tyson Defendants specifically deny the allegations of

anticompetitive behavior in the Complaint. This paragraph otherwise contains Plaintiffs’

characterizations of their claims, including unfounded speculation and conclusory statements,

and allegations subject to proof by expert testimony, to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by



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expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: To the extent the allegations in this paragraph relate to the other

Defendants and/or third parties to this action, the Tyson Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations and, therefore, deny these

allegations. This paragraph contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants specifically deny the allegations of conspiracy in

the Complaint. As to the data included in Figure 16, the Tyson Defendants lack sufficient

information and knowledge to admit or deny their accuracy. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.

         H.    The Production Cuts Were Implemented Despite Surging Beef Demand

               Answer: The Tyson Defendants specifically deny the allegations of joint

slaughter management and collective restraint in the Complaint. The Tyson Defendants deny that

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John Gerber was Head of Fed Cattle Procurement for Tyson Fresh Meats, Inc. in November

2018. To the extent this paragraph characterizes or quotes from documents or other sources, the

Tyson Defendants note that such sources speak for themselves and deny any characterization or

description that is inconsistent therewith. The Tyson Defendants otherwise deny the allegations

in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory

statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations.

               Answer: As to the cites or quotes from industry publications or articles, the

Tyson Defendants lack sufficient information and knowledge to admit or deny the accuracy of

any data or sources used to support the statements and opinions therein, and therefore deny these

allegations. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants specifically deny the allegations of collusion in

the Complaint. As to the data included in Figure 17, the Tyson Defendants lack sufficient

information and knowledge to admit or deny their accuracy. This paragraph otherwise contains

Plaintiffs’ characterizations of their claims, including unfounded speculation and conclusory



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statements, and allegations subject to proof by expert testimony, to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or allegations. The Tyson Defendants otherwise deny the allegations in this paragraph.


       VIII. THE BEEF INDUSTRY FACES GOVERNMENTAL INQUIRIES AND
                             INVESTIGATIONS

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants specifically deny the allegations of illegal acts in

the Complaint. This paragraph contains Plaintiffs’ characterizations of their claims, including

unfounded speculation and conclusory statements, and allegations subject to proof by expert

testimony, to which no response is required. To the extent a response is required, the Tyson

Defendants deny such characterizations and/or allegations. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants lack

knowledge or information sufficient to form a belief as to the truth of the allegations in this

paragraph and, therefore, deny these allegations.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any



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characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.




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               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. The Tyson Defendants otherwise

deny the allegations in this paragraph.


                                  IX.     ANTITRUST INJURY

               Answer: The Tyson Defendants specifically deny the allegations of collusion in

the Complaint. This paragraph otherwise contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants specifically deny the allegations of collaboration

to restrict supply in the Complaint. This paragraph otherwise contains Plaintiffs’

characterizations of their claims, including unfounded speculation and conclusory statements,

and allegations subject to proof by expert testimony, to which no response is required. To the

extent a response is required, the Tyson Defendants deny such characterizations and/or

allegations.


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               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants specifically deny the allegations of collusion to

restrict supply in the Complaint. This paragraph otherwise contains Plaintiffs’ characterizations

of their claims, including unfounded speculation and conclusory statements, and allegations

subject to proof by expert testimony, to which no response is required. To the extent a response

is required, the Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants specifically deny the allegations of concerted

manipulation of slaughter capacity and processing volume in the Complaint. This paragraph

otherwise contains Plaintiffs’ characterizations of their claims, including unfounded speculation

and conclusory statements, and allegations subject to proof by expert testimony, to which no

response is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or allegations.

               Answer: The Tyson Defendants deny the allegations of collusion in the

Complaint and otherwise deny the allegations in this paragraph. This paragraph otherwise

contains Plaintiffs’ characterizations of their claims, including unfounded speculation and

conclusory statements, and allegations subject to proof by expert testimony, to which no

response is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or allegations.

               Answer: The Tyson Defendants deny the allegations of collusion in the

Complaint and otherwise deny the allegations in this paragraph. This paragraph otherwise



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contains Plaintiffs’ characterizations of their claims, including unfounded speculation and

conclusory statements, and allegations subject to proof by expert testimony, to which no

response is required. To the extent a response is required, the Tyson Defendants deny such

characterizations and/or allegations.

               Answer: This paragraph contains Plaintiffs’ characterizations of their claims,

including unfounded speculation and conclusory statements, and allegations subject to proof by

expert testimony, to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or allegations.

               Answer: The Tyson Defendants deny the allegations of conspiracy in the

Complaint and otherwise deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.


X.       DEFENDANTS FRAUDULENTLY CONCEALED THEIR CONSPIRACY

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

         A.    Defendants’ concealment of Plaintiffs’ cause of action

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.




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               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,




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the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions. The Tyson Defendants

otherwise deny the allegations in this paragraph.

               1.      The Cargill Defendants
               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either




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Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               2.      The JBS Defendants
               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.




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               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               3.      National Beef
               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

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Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.




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               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either

Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               Answer: The allegations set forth in this paragraph are not directed to the Tyson

Defendants and, therefore, no response is required from the Tyson Defendants. To the extent any

of the allegations set forth in this paragraph could be construed as allegations against either



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Tyson Defendant, the Tyson Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph and, therefore, deny these allegations.

               4.      The Tyson Defendants
               Answer: The Tyson Defendants specifically deny the allegations of conspiracy in

the Complaint. This paragraph otherwise contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: The Tyson Defendants specifically deny the allegations of conspiracy in

the Complaint. To the extent this paragraph characterizes or describes documents or other

sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. This paragraph otherwise contains

Plaintiffs’ characterization of their claims and/or legal conclusions to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or conclusions.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. This paragraph otherwise contains

Plaintiffs’ characterization of their claims and/or legal conclusions to which no response is

required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or conclusions.

               Answer: To the extent this paragraph characterizes or describes documents or

other sources, the Tyson Defendants note that such sources speak for themselves and deny any

characterization or description that is inconsistent therewith. This paragraph otherwise contains

Plaintiffs’ characterization of their claims and/or legal conclusions to which no response is

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required. To the extent a response is required, the Tyson Defendants deny such characterizations

and/or conclusions.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

         B.    Plaintiffs were unable to discover the existence of Operating Defendants’
               conspiracy

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations regarding when Plaintiffs learned of Witness 1 and,

therefore, deny these allegations. This paragraph otherwise contains Plaintiffs’ characterization

of their claims and/or legal conclusions to which no response is required. To the extent a

response is required, the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: The Tyson Defendants lack knowledge or information sufficient to form

a belief as to the truth of the allegations regarding when Plaintiffs learned of any investigations

and, therefore, deny these allegations.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.




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          C.     Plaintiffs exercised due diligence in attempting to discover their claim

                 Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

                 Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

                 Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

                 Answer: The Tyson Defendants deny the allegations in this paragraph.

                 Answer: The Tyson Defendants deny the allegations in this paragraph.

                 Answer: The Tyson Defendants deny the allegations in this paragraph.

                 Answer: Regarding the GAO report cited in this paragraph, the Tyson Defendants

note that the source speaks for itself and deny any characterization or description that is

inconsistent therewith. This paragraph contains Plaintiffs’ characterization of their claims and/or

legal conclusions to which no response is required. To the extent a response is required, the

Tyson Defendants deny such characterizations and/or conclusions.

    XI.        DEFENDANTS ENGAGED IN CONTINUING ANTITRUST VIOLATIONS

                 Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.




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         A.    Defendants Renewed their Conspiracy with New and Independent Acts

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

         B.    Defendants Inflicted New and Accumulating Injury on Plaintiffs

               Answer: The Tyson Defendants specifically deny the price-fixing agreement

alleged in the Complaint. This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

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               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.




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               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.


                          XII.    CLASS ACTION ALLEGATIONS

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants admit that the Complaint purports to bring a class action on behalf of the

class defined in this paragraph, but deny that such a class may be properly certified.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.


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               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.

               Answer: This paragraph contains Plaintiffs’ characterization of their claims

and/or legal conclusions to which no response is required. To the extent a response is required,

the Tyson Defendants deny such characterizations and/or conclusions.


       XIII. VIOLATIONS OF SECTION 1 OF THE SHERMAN ACT, 15 U.S.C. § 1

               Answer: The Tyson Defendants incorporate by reference their answers to each

preceding and succeeding paragraph, as if fully set forth herein in response to this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.

               Answer: The Tyson Defendants deny the allegations in this paragraph.




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                                XIV. REQUEST FOR RELIEF

         A.     Answer: The Tyson Defendants deny that Plaintiffs are entitled to any relief and

request that the Court find for Defendants on all claims.

         B.     Answer: The Tyson Defendants deny that Plaintiffs are entitled to any relief and

request that the Court find for Defendants on all claims.

         C.     Answer: The Tyson Defendants deny that Plaintiffs are entitled to any relief and

request that the Court find for Defendants on all claims.

         D.     Answer: The Tyson Defendants deny that Plaintiffs are entitled to any relief and

request that the Court find for Defendants on all claims.

         E.     Answer: The Tyson Defendants deny that Plaintiffs are entitled to any relief and

request that the Court find for Defendants on all claims.

         F.     Answer: The Tyson Defendants deny that Plaintiffs are entitled to any relief and

request that the Court find for Defendants on all claims.


                              XV.     JURY TRIAL DEMANDED

         Answer: This paragraph does not contain any factual assertions to which a response is

required. To the extent a response is required, pursuant to Federal Rule of Civil Procedure 38 the

Tyson Defendants also demand a jury trial on all claims so triable.




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                                    AFFIRMATIVE DEFENSES

          The Tyson Defendants assert the following defenses in response to Plaintiffs’ claims,

undertaking the burden of proof only as to those defenses deemed affirmative defenses by law,

regardless of how such defenses are denominated herein. The Tyson Defendants incorporate by

reference the statements, admissions, and denials contained in their Answer, and reserve the right

to amend this Answer and to assert other defenses as this action proceeds.

          1.     The Complaint fails to state a claim upon which relief can be granted. The Tyson

Defendants adopt and incorporate by reference all arguments that they raised in the Defendants’

joint motion to dismiss, and the Tyson Defendants’ individual motion to dismiss. To the extent

that the Court’s rulings have limited or foreclosed any of these defenses, the Tyson Defendants

continue to plead the defenses to preserve them for appeal.

          2.     Plaintiffs’ claims against the Tyson Defendants are barred, in whole or in part,

because the Complaint fails to allege how the Tyson Defendants engaged in anticompetitive

activity in furtherance of the alleged conspiracy.

          3.     Plaintiffs’ claims are barred, in whole or in part, by the four-year statute of

limitations for Sherman Act claims (15 U.S.C. § 15b).

          4.     To the extent Plaintiffs claim that the Tyson Defendants fraudulently concealed

any actions, Plaintiffs have failed to allege this fraud with particularity under Federal Rule of

Civil Procedure 9(b) and they have failed to adequately allege that they exercised sufficient due

diligence to uncover facts in support of their claims.

          5.     Plaintiffs lack standing, including antitrust standing, to bring some or all of their

claims.




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         6.     Plaintiffs’ claims are barred, in whole or in part, because the alleged injuries and

damages, if any, resulted from an intervening or superseding cause. Those intervening and/or

superseding causes include, but are not limited to, the conduct of other market participants in the

market over which the Tyson Defendants had no control, and/or events beyond the Tyson

Defendants’ control such as global pandemics, weather, and changes in applicable laws and

regulations.

         7.     Plaintiffs’ claims are barred to the extent the claims or the relief sought are moot.

         8.     This action is not properly maintainable as a class action under the Federal Rules

of Civil Procedure. Among other things, common issues of fact and law do not predominate over

individual issues; a class action is not a superior method for adjudicating the purported claims set

forth in the Complaint; adjudication on a class basis would be unmanageable; the interests of the

purported class members are in conflict with each other; Plaintiffs are not proper class

representatives and their claims are not sufficiently typical of the purported class; and Plaintiffs

will not fairly and adequately represent the purported class.

         9.     The certification and maintenance of this action as a class action would violate the

Tyson Defendants’ due process rights under the Fifth and Fourteenth Amendments to the United

States Constitution and would deny the Tyson Defendants the right of access to the courts to the

extent that the certification and maintenance of a class action would deprive them of procedural

and substantive safeguards and of traditional defenses to liability.

         10.    Plaintiffs’ claims and the claims of any putative class members are barred in

whole or in part to the extent Plaintiffs seek to impose liability on the Tyson Defendants based

on the exercise of any person or entity’s right to petition federal, state, and local legislative




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bodies, as such conduct is permissible under the Noerr-Pennington doctrine and privileged under

the First Amendment to the United States Constitution.

         11.   Plaintiffs’ claims are barred, in whole or in part, by the doctrines of waiver,

estoppel, laches, unclean hands, and other equitable defenses.

         12.   Plaintiffs’ claims are barred, in whole or in part, under the doctrines of collateral

estoppel and/or res judicata to the extent that courts have upheld the Defendants’ conduct alleged

in the Complaint.

         13.   Plaintiffs’ claims and/or entitlement to damages are barred, in whole or in part,

because the damages they seek are too speculative, remote, or difficult to ascertain.

         14.   Plaintiffs did not suffer injury and were not damaged based on any acts alleged in

the Complaint that were purportedly traceable to the Tyson Defendants.

         15.   Plaintiffs’ claims and/or entitlement to damages are barred, in whole or in part,

because they have failed to mitigate, prevent, or avoid their alleged damages, if any.

         16.   Plaintiffs’ claims are barred, in whole or in part, to the extent they seek improper

multiple damage awards, and damage awards duplicative of those sought in other actions, in

violation of the Due Process guarantees of the Fifth and Fourteenth Amendments of the United

States Constitution.

         17.   Plaintiffs’ claims and/or entitlement to damages are barred, in whole or in part, by

non-settling Defendants’ right to offset, including any amount paid by Plaintiffs by any

Defendants that may settle Plaintiffs’ claims in the action.

         18.   Plaintiffs’ claims against the Tyson Defendants for damages are barred, in whole

or in part, because Plaintiffs would be unjustly enriched if allowed to recover any portion of the




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damages alleged in the Complaint. Plaintiffs’ damages, if any, must therefore be offset against

any benefits received.

         19.   Plaintiffs’ claims are barred, in whole or in part, to the extent the contracts

pursuant to which Plaintiffs purchased beef products contain valid and enforceable clauses

waiving and agreeing not to pursue class action claims against either or both of the Tyson

Defendants.

         20.   Plaintiffs’ claims are barred, in whole or in part, to the extent the contracts

pursuant to which Plaintiffs purchased beef products from the Tyson Defendants contain valid

and enforceable arbitration clauses or other terms requiring alternative dispute resolution

processes.

         21.   The Tyson Defendants had independent, legitimate, and self-interested business

and economic justifications for their conduct, and they acted unilaterally.

         22.   Plaintiffs’ claims are barred, in whole or in part, because the Tyson Defendants’

actions were authorized or permitted under federal law.

         23.   Plaintiffs are not entitled to injunctive or other equitable relief because to the

extent Plaintiffs could prove their claims (which the Tyson Defendants dispute), Plaintiffs have

an adequate remedy at law and any injunctive relief would be improper.

         24.   The Tyson Defendants adopt and incorporate by reference any and all other

defenses asserted by any other Defendant to the extent that the defense applies to them.




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DATED this 1st day of February, 2022.



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                                  CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the above and foregoing has been served

upon all counsel of record, via the Court’s CM/ECF system on this the ___ day of_________,

2022.

                                                      /s/
                                                      Signing atty / filer name




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